                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA



UNITED STATES OF AMERICA,              )
                                       )
                            Plainitff, )
                                       )
      vs.                              )
                                       )
THE NOME RETAIL GROCERYMEN'S           )
ASSOCIATION, et al.,                   )
                                       )                   No. 2:06-cv-1449-HRH1
                          Defendants.  )
_______________________________________)



                                        ORDER
                         Motion to Terminate Antitrust Judgment
       The United States moves, pursuant to Rule 60(b), Federal Rules of Civil

Procedure, to terminate the judgment entered in this case by Territorial District Judge
Alfred S. Moore on February 8, 1906. United States v. Nome Retail Grocerymen’s

Ass’n, Civ. No. 1449). Plaintiff has given public notice and opportunity to comment
with respect to the instant motion. Plaintiff has received no comment.

       Plaintiff seeks termination of the judgment in this case based upon its age –
113 years – and the policy of the United States Department of Justice, Antitrust Division,
that judgments such as that entered in this case be terminated after no more than ten years.

       In consideration of the foregoing and pursuant to Rule 60(b)(5) and (6), Federal
Rules of Civil Procedure, plaintiff’s motion to terminate antitrust judgment is granted.

       1
       The correct case year is 1906, not 2006.

ORDER – Motion to Terminate Antitrust Judgment                                            -1-


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       Judge Moore’s judgment and decree of February 8, 1906, is now terminated in all
respects.

       DATED at Anchorage, Alaska, this 7th day of March, 2019.



                                               /s/ H. Russel Holland
                                               United States District Judge




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